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             EXHIBIT 29
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 MODERNATX, INC. and MODERNA US, INC.,

                               Plaintiffs,

                        v.                               Case No. 1:22-cv-11378-RGS

 PFIZER INC., BIONTECH SE, BIONTECH
 MANUFACTURING GMBH, and BIONTECH US
 INC.,

                               Defendants.


    DECLARATION OF KARTHIK KASARANENI IN SUPPORT OF MOTION TO
         COMPEL PRODUCTION OF DOCUMENTS AND INFORMATION
               ERRONEOUSLY WITHHELD AS PRIVILEGED

I, Karthik Kasaraneni, hereby declare:

       1.      I am an attorney with the law firm Paul Hastings LLP, and counsel for Defendants

BioNTech SE, BioNTech Manufacturing GmbH, and BioNTech US Inc. (together, “BioNTech”).

I have personal knowledge of the facts contained in the declaration and, if called upon to do so, I

could and would testify competently to the matters herein.

       2.      Attached hereto as Exhibit A is a true and correct copy of Defendants’ 6th

excerpted and annotated Supplemental Privilege Log, dated December 21, 2023.

       3.      Attached hereto as Exhibit B is a true and correct copy of an email thread between

counsel for ModernaTX, Inc. and Moderna US, Inc. (collectively, “Moderna”) and counsel for

Defendants ranging from December 15, 2023 to January 9, 2023.

       4.      Attached hereto as Exhibit C is a true and correct excerpted copy of the transcript

of Dr. Jason P. Schrum’s deposition conducted on December 19, 2023.
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        5.         Attached hereto as Exhibit D is a true and correct copy of a document redacted in

part by ModernaTX, Inc. and Moderna US, Inc. (collectively, “Moderna”) and titled “2010 Fellows

- RNA Agonism,” that was marked as Exhibit 13 at the deposition Dr. Jason P. Schrum, hereafter

referred to as “the Schrum white paper.” The Schrum white paper consists of the document

produced by Moderna as MOD_000282515-MOD_000282525 in this litigation along with, as the

last page, a subset of the metadata that Moderna produced with the document.

        6.         Attached hereto as Exhibit E is a true and correct copy of a letter dated October

16, 2023 sent by counsel for Defendants to counsel for Moderna.

        7.         Attached hereto as Exhibit F is a true and correct copy of a letter dated October 23,

2023 sent by counsel for Moderna to counsel for Defendants

        8.         Attached hereto as Exhibit G is a true and correct copy of an email thread between

counsel for Moderna and counsel for Defendants ranging from October 23, 2023 to November 8,

2023.

        9.         Attached hereto as Exhibit H is a true and correct copy of Defendants’ 5th

Supplemental Privilege Log, dated November 17, 2023.

        10.        Attached hereto as Exhibit I is a true and correct copy of a letter dated November

22, 2023 sent by counsel for Defendants to counsel for Moderna.

        11.        Attached hereto as Exhibit J is a true and correct copy of a letter dated December

6, 2023 sent by counsel for Moderna to counsel for Defendants.

        12.        Attached hereto as Exhibit K is a true and correct annotated copy of the document

produced by third party TriLink Biotechnologies, LLC as TRILINK000017-TRILINK000028 in

this litigation.

        13.        Attached hereto as Exhibit L is a true and correct copy of the document produced

by third party TriLink Biotechnologies, LLC as TRILINK000066 in this litigation.

        14.        Attached hereto as Exhibit M is a true and correct copy of a letter dated January 8

2024 sent by counsel for Moderna to counsel for Defendants.
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           15.    Attached hereto as Exhibit N is a true and correct copy of a letter dated January 3

2024 sent by counsel for Moderna to counsel for Defendants.

           16.    Attached hereto as Exhibit O is a true and correct copy of a Nature News Feature

titled, “THE BILLION-DOLLAR BIOTECH,” dated June 4, 2015.

           17.    Attached hereto as Exhibit P is a true and correct copy of a letter dated January 11

2024 sent by counsel for Moderna to counsel for Defendants.

           18.    On January 4, 2024, I participated as counsel for BioNTech in a discovery

conference with the other parties in this action, including counsel for Pfizer Inc. and Moderna. We

discussed, inter alia, the improper redactions to the Schrum white paper and the de Fougerolles

white paper, a document that Moderna originally produced with the beginning bates number

MOD_000332132 in this litigation and subsequently clawed back. The parties also discussed their

positions as set forth in their respective letters in regards to the Schrum and de Fougerolles white

papers. (e.g., Ex. B at 7-10; Ex. N.) The discussion, as I recall, is recounted in, e.g., Ex. B at 1,

3.

           19.    The conference concluded as to the Schrum white paper with Moderna failing to

provide any information that justified its basis for claiming privilege over the document. (See Ex.

2 at 3).

           20.    The conference concluded as to the de Fougerolles white paper with Moderna

failing to provide any information that justified its basis for claiming privilege over the document..

(See Ex. 2 at 3).


           I declare under penalty of perjury that the foregoing is true and correct. Executed this

19th day of January 2024, in Washington, District of Columbia.

                                                                 /s/ Karthik R. Kasaraneni
                                                                 Karthik R. Kasaraneni




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                                      CERTIFICATE OF SERVICE

        I, Gregory M. Boucher, hereby certify that on January 19, 2024, I caused the foregoing motion to

be electronically filed with the Clerk of the Court via email pursuant to the Court’s January 19, 2024

Order (Dkt. 204) granting in part Defendants’ Motion to Seal (Dkt. 203), and I simultaneously served

notice of such filing to all counsel of record to their registered electronic mail addresses.



                                            /s/ Gregory M. Boucher
                                            Gregory M. Boucher (BBO# 665212)
